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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                          Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant




                    JOINT MOTION TO ABATE BRIEFING SCHEDULE

       On August 30, 2019, defendant Michael T. Flynn filed a motion to compel the production

of Brady material, and for an order to show cause why the government should not be held in

contempt of court (“Motion to Compel”). (ECF #109). On September 10, 2019, this Court held a

hearing and set a briefing schedule for that motion, and scheduled a hearing on the matter for

October 31, 2019. (Minute Order of September 10, 2019; ECF #114). At the September 10th

hearing, the Court also scheduled this case for sentencing on December 18, 2019, and ordered

that the government file its supplemental sentencing memorandum by December 2, 2019, and

that the defendant file his supplemental sentencing memorandum by December 10, 2019.

(Minute Order of Sept. 10, 2019; ECF #114). The Court later canceled the hearing for the

Motion to Compel because of the parties’ “comprehensive briefing,” and directed the parties to

file a surreply and sur-surreply on November 1 and 4, 2019, respectively. (Minute Order of Oct.

28, 2019; ECF #127; Minute Order of Oct. 29, 2019).

       As of the date of this filing, the Court had not yet issued its ruling on the defendant’s

Motion to Compel. Both parties share the Court’s goal to move this case along expeditiously.

The parties nonetheless believe that their sentencing submissions will be incomplete if they are

filed prior to the Court’s issuance of its ruling on the Motion to Compel. Additionally, the
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parties note that the Department of Justice’s Office of the Inspector General (OIG) is conducting

an Examination of the Department’s and the FBI’s Compliance with Legal Requirements and

Policies in Applications Filed with the US. Foreign Intelligence Surveillance Court Relating to a

certain US. Person. The parties expect that the report of this investigation will examine topics

related to several matters raised by the defendant. As widely reported by the media, that report is

expected to issue in the next several weeks.

       For these reasons, the parties respectfully request that the Court suspend the currently

scheduled dates for briefing and sentencing until further order of the Court.



                                                     Respectfully submitted,

                                                     JESSIE K. LIU
                                                     United States Attorney
                                                     D.C. Bar No. 472845

                                                     By: /s/

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Dated: November 26, 2019




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                               CERTIFICATE OF SERVICE


      I, Jocelyn Ballantine, certify that I caused to be served a copy of the foregoing by electronic
means on counsel of record for the defendant on November 26, 2019.




                                              ______/s/_______________
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